      Case 5:24-cv-01259-FJS-MJK           Document 20       Filed 01/02/25     Page 1 of 2




                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK
                                SYRACUSE DIVISION



 Nancy Schlie,

         Plaintiff,

 v.                                                   Case No.: 5:24-cv-01259-FJS-MJK

 The Bank of Missouri, Experian Information
 Solutions, Inc.; TransUnion, LLC, and Equifax
 Information Services, LLC,

         Defendants,



        NOTICE OF DISMISSAL AS TO DEFENDANT THE BANK OF MISSOURI

      Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), notice is hereby given that Defendant The Bank

of Missouri may be dismissed with prejudice, with the parties to bear their own fees and costs.

Plaintiff’s claims against Equifax Information Services, LLC and Experian Information

Solutions, Inc. remain pending.

      Dated:    January 2, 2025

                                                      /s/ Andrea Moss
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     Case 5:24-cv-01259-FJS-MJK            Document 20       Filed 01/02/25     Page 2 of 2




                                CERTIFICATE OF SERVICE
     I hereby certify that on January 2, 2025, I electronically transmitted the foregoing document

to the Clerk’s Office using the ECF system for filing and transmittal of a Notice of Electronic

Filing to all CM/ECF registrants of record in this matter.

                                              /s/ Andrea Moss




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